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                                                 11
                                                      Attorneys for Defendant Darrell E. Wagner
                                                 12
                                                                                    UNITED STATES DISTRICT COURT
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13
                  Reno, Nevada 89501




                                                                                           DISTRICT OF NEVADA
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                                                 14
                          L.L.P.




                                                 15
                                                      AMERIGAS PROPANE, INC., a Pennsylvania
                                                 16   corporation,                                         Case No. 3:18-cv-00123-MMD-VPC

                                                 17                           Plaintiff,                   DARRELL E. WAGNER’S ANSWER
                                                                                                           TO COMPLAINT
                                                 18   vs.

                                                 19   DARRELL E. WAGNER, an individual

                                                 20                           Defendant.

                                                 21            Defendant Darrell E. Wagner, by and through counsel, files his Answer to the Complaint

                                                 22   (Dkt. #3) as follows:

                                                 23                                           SUMMARY OF ACTION

                                                 24            1.      Wagner admits the first sentence of paragraph 1. Wagner lacks knowledge and

                                                 25   information on which to form a belief as to the truth or falsity of the remaining allegations of

                                                 26   paragraph 1, and therefore denies the same.

                                                 27            2.      Wagner admits the allegations of paragraph 2.

                                                 28            3.      Wagner admits the agreement attached to the Complaint as Exhibit A bears his

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                                                  1   signature, which was obtained without sufficient consideration. Wagner denies the remaining
                                                  2   allegations of paragraph 3.
                                                  3            4.      Wagner lacks knowledge and information on which to form a belief as to the truth
                                                  4   or falsity of the allegations of paragraph 4, and therefore denies the same.
                                                  5            5.      Wagner admits he worked for Heritage but lacks knowledge and information on
                                                  6   which to form a belief as to the truth or falsity of the remaining allegations of paragraph 5, and
                                                  7   therefore denies the same.
                                                  8            6.      Wagner denies the allegations of paragraph 6.
                                                  9            7.      Wagner denies the allegations of paragraph 7.
                                                 10                                                PARTIES
                                                 11            8.      The allegations of paragraph 8 do not state averments of fact but rather
                                                 12   conclusions of law as to which no answer is required, but to the extent an answer is required,
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                                                 13   Wagner denies said allegations.
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                                                 14            9.      Wagner admits the allegations of paragraph 9.
                          L.L.P.




                                                 15                                     JURISDICTION AND VENUE
                                                 16            10.     Wagner denies the amount in controversy exceeds $75,000.         The remaining
                                                 17   allegations call for a legal conclusion as to which no answer is required.
                                                 18            11.     Wagner admits venue is proper but denies that he engaged in the wrongful conduct
                                                 19   alleged.
                                                 20                    FACTUAL ALLEGATIONS APPLICABLE TO ALL CLAIMS
                                                 21            12.     Wagner lacks knowledge and information on which to form a belief as to the truth
                                                 22   or falsity of the allegations of paragraph 12, and therefore denies the same.
                                                 23            13.     Wagner lacks knowledge and information on which to form a belief as to the truth
                                                 24   or falsity of the allegations of paragraph 13, and therefore denies the same.
                                                 25            14.     Wagner denies the allegations of paragraph 14.
                                                 26            15.     Wagner denies the allegations of paragraph 15.
                                                 27            16.     Wagner admits the allegations of paragraph 16.
                                                 28            17.     Wagner admits AmeriGas employed him as a District Manager. Wagner denies the

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                                                  1   remaining allegations of paragraph 17.
                                                  2            18.     Wagner admits the agreement attached to the Complaint as Exhibit A bears his
                                                  3   signature, which was obtained without sufficient consideration. This paragraph refers to an
                                                  4   instrument in writing, which instrument fully and adequately speaks for itself, and any
                                                  5   summations, characterizations or conclusions from said documents necessarily misstate or
                                                  6   otherwise fail to accurately state the full contents of said document.
                                                  7            19.     Wagner denies the allegations of paragraph 19.
                                                  8            20.     Wagner admits he is an employee of Hunt & Sons, Inc. but denies the remaining
                                                  9   allegations of paragraph 20.
                                                 10            21.     Wagner denies the allegations of paragraph 21, as this paragraph refers to an
                                                 11   instrument in writing, which instrument fully and adequately speaks for itself, and any
                                                 12   summations, characterizations or conclusions from said documents necessarily misstate or
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                                                 13   otherwise fail to accurately state the full contents of said document.
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                                                 14            22.     Wagner denies the allegations of paragraph 22, as this paragraph refers to an
                          L.L.P.




                                                 15   instrument in writing, which instrument fully and adequately speaks for itself, and any
                                                 16   summations, characterizations or conclusions from said documents necessarily misstate or
                                                 17   otherwise fail to accurately state the full contents of said document.
                                                 18            23.     Wagner denies the allegations of paragraph 23.
                                                 19            24.     Wagner admits he is an employee of Hunt & Sons, Inc. but denies the remaining
                                                 20   allegations of paragraph 24.
                                                 21            25.     Wagner admits that he received a letter dated February 20, 2018, attached to the
                                                 22   Complaint as Exhibit B, and informing him the “Agreement does not prohibit [Wagner] from
                                                 23   working for a competitor.” Wagner denies the remaining allegations in paragraph 25.
                                                 24            26.     Wagner denies the allegations of paragraph 26.
                                                 25                                      FIRST CAUSE OF ACTION
                                                                                         BREACH OF CONTRACT
                                                 26

                                                 27            27.     Answering paragraph 27, Wagner hereby repeats, re-alleges, and incorporates
                                                 28   each of its admissions, denials, or other responses herein.

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                                                  1            28.       Wagner admits the agreement attached to the Complaint as Exhibit A bears his
                                                  2   signature, which was obtained without sufficient consideration. Wagner admits he worked for
                                                  3   AmeriGas. Wagner denies the remaining allegations of paragraph 28.
                                                  4            29.       Wagner denies the allegations in paragraph 29.
                                                  5            30.       The allegations of paragraph 30 do not state averments of fact but rather
                                                  6   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                  7   Wagner denies said allegations.
                                                  8                                 SECOND CAUSE OF ACTION
                                                                       MISAPPROPRIATION OF TRADE SECRETS (NRS 600A, ET SEQ.)
                                                  9

                                                 10            31.       Answering paragraph 31, Wagner hereby repeats, re-alleges, and incorporates each
                                                 11   of its admissions, denials, or other responses herein.
                                                 12            32.       Wagner does not know what “propane panels” means and is unaware of anyone
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                                                 13   installing “propane panels.” Wagner denies the allegations in paragraph 32.
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                                                 14            33.       Wagner denies the allegations in paragraph 33.
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                                                 15            34.       Wagner denies the allegations in paragraph 34.
                                                 16            35.       Wagner denies the allegations in paragraph 35.
                                                 17            36.       The allegations of paragraph 36 do not state averments of fact but rather
                                                 18   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                 19   Wagner denies said allegations.
                                                 20            37.       The allegations of paragraph 37 do not state averments of fact but rather
                                                 21   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                 22   Wagner denies said allegations.
                                                 23            38.       Wagner denies the allegations in paragraph 38.
                                                 24                         THIRD CAUSE OF ACTION
                                                       VIOLATION OF THE DEFEND TRADE SECRETS ACT OF 2016 (18 U.S.C. § 1836, ET
                                                 25                                 SEQ.)
                                                 26            39.       Answering paragraph 39, Wagner hereby repeats, re-alleges, and incorporates each
                                                 27   of its admissions, denials, or other responses herein.
                                                 28            40.       Wagner lacks knowledge and information on which to form a belief as to the truth

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                                                  1   or falsity of the allegations of paragraph 40, and therefore denies the same.
                                                  2            41.     Wagner denies the allegations of paragraph 41.
                                                  3            42.     Wagner denies the allegations of paragraph 42.
                                                  4            43.     Wagner denies the allegations of paragraph 43.
                                                  5            44.     Wagner denies the allegations of paragraph 44.
                                                  6            45.     The allegations of paragraph 45 do not state averments of fact but rather
                                                  7   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                  8   Wagner denies said allegations.
                                                  9            46.     Wagner denies the allegations of paragraph 46.
                                                 10            47.     The allegations of paragraph 47 do not state averments of fact but rather
                                                 11   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                 12   Wagner denies said allegations.
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                                                 13            48.     The allegations of paragraph 48 do not state averments of fact but rather
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                                                 14   conclusions of law as to which no answer is required, but to the extent an answer is required,
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                                                 15   Wagner denies said allegations.
                                                 16            49.     The allegations of paragraph 49 do not state averments of fact but rather
                                                 17   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                 18   Wagner denies said allegations.
                                                 19            50.     The allegations of paragraph 50 do not state averments of fact but rather
                                                 20   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                 21   Wagner denies said allegations.
                                                 22            51.     The allegations of paragraph 51 do not state averments of fact but rather
                                                 23   conclusions of law as to which no answer is required, but to the extent an answer is required,
                                                 24   Wagner denies said allegations.
                                                 25                                     AFFIRMATIVE DEFENSES
                                                 26            Defendant alleges the following as affirmative defenses to the Complaint:
                                                 27            1.      The purported agreement between Plaintiff and Defendant alleged in the
                                                 28   Complaint is void, unenforceable, and contrary to the public policy of the State of Nevada.

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                                                  1            2.      To the extent that Plaintiff intends to apply the purported agreement between
                                                  2   Plaintiff and Defendant alleged in the Complaint as applicable and binding in California, such
                                                  3   agreement is void, unenforceable, and contrary to the law and public policy of the State of
                                                  4   California.
                                                  5            3.      The purported agreement between Plaintiff and Defendant alleged in the
                                                  6   Complaint is unenforceable against Defendant due to a failure of consideration.
                                                  7            4.      The purported agreement between Plaintiff and Defendant alleged in the
                                                  8   Complaint is unenforceable against Defendant because Plaintiff procured Defendant’s signature
                                                  9   on such agreement through duress and misrepresentation.
                                                 10            5.      The purported agreement between Plaintiff and Defendant alleged in the
                                                 11   Complaint is unenforceable against Defendant because the obligations Plaintiff seeks to impose
                                                 12   on Defendant (a) are unreasonable; (b) impose a restraint that is greater than in required for the
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                                                 13   protection of Plaintiff; (c) impose undue hardship on Defendant; (d) are not appropriate in
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                                                 14   relation to the alleged consideration.
                          L.L.P.




                                                 15            6.      The purported agreement between Plaintiff and Defendant alleged in the
                                                 16   Complaint is unenforceable against Defendant because it purports to restrict Defendant from
                                                 17   providing service to a former customer or client regardless of whether Defendant solicited the
                                                 18   former customer or client, or the customer or client voluntarily chose to leave the services of
                                                 19   Plaintiff, or Defendant otherwise complied with limitations in the agreement as to time,
                                                 20   geographical area, and scope of activity to be restrained.
                                                 21            7.      Plaintiff’s claims, if any, are barred by the failure of Plaintiff to perform conditions
                                                 22   precedent to the enforcement of any purported contract.
                                                 23            8.      Plaintiff, through its conduct, has waived any right to recovery against Defendant.
                                                 24            9.      Plaintiff’s claims are barred by the doctrine of unclean hands and bad faith.
                                                 25            10.     Plaintiff is equitably estopped from asserting any equitable claims or right to
                                                 26   recovery against Defendant.
                                                 27            11.     The damages claimed by Plaintiff were proximately caused by Plaintiff’s own
                                                 28   conduct, including but not limited to, a failure to mitigate damages, precluding any recovery

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                                                  1   against Defendant.
                                                  2            12.     To the extent any wrongful conduct on the part of Plaintiff caused or contributed
                                                  3   to events described in the Complaint, Nevada’s laws concerning comparative negligence apply to
                                                  4   this action and govern any damage recovery to which Plaintiff may be entitled.
                                                  5            13.     To the extent Plaintiff sustained any damages as a result of the matters alleged in
                                                  6   the Complaint, those damages were caused by the acts or omissions of persons or parties over
                                                  7   whom Defendant had no control.
                                                  8            14.     Plaintiff, through its voluntary actions and inactions, has released Defendant from
                                                  9   any claims arising from the matters alleged in the Complaint.
                                                 10            15.     All actions or inactions of Defendant in connection with the matters alleged in the
                                                 11   Complaint were reasonable, legally justified and privileged.
                                                 12            16.     The Complaint fails to state a claim upon which relief can be granted.
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                                                 13            17.     Plaintiff’s claims are barred in whole or in part by the applicable statute of
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                                                 14   limitations.
                          L.L.P.




                                                 15            18.     If Defendant perpetrated any of the acts alleged in the Complaint, which
                                                 16   Defendant in no way admits, the acts were undertaken without malice.
                                                 17            19.     Under the applicable law and the facts of this case, Plaintiff is not entitled to
                                                 18   punitive damages. Moreover, any award of punitive damages such as that sought by Plaintiff is
                                                 19   unconstitutional under the United States Constitution and/or the Constitution of Nevada.
                                                 20            20.     Plaintiff’s claims are barred by the doctrine of laches.
                                                 21            21.     Plaintiff’s claims are barred by fraud in the inducement.
                                                 22            22.     Plaintiff’s claims are barred by unilateral and/or mutual mistake.
                                                 23            23.     Plaintiff’s claims are barred by the doctrines of merger, res judicata, release,
                                                 24   discharge, and accord and satisfaction.
                                                 25            24.     Plaintiff’s claims are barred because Plaintiff is not the real party in interest and
                                                 26   lacks standing to assert the claims made.
                                                 27            25.     Plaintiff’s claims are barred because the information Plaintiff claims to be a trade
                                                 28   secret is not a trade secret under the law.

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                                                  1            26.     Plaintiff’s claims are barred because Plaintiff suffered no damages.
                                                  2            27.     All possible affirmative defenses are unknown to Defendant at this time so
                                                  3   Defendant reserves the right to amend this Answer to assert additional affirmative defenses as
                                                  4   they are discovered or determined.
                                                  5            28.     Plaintiff’s claims are barred as a result of Plaintiff’s failure to satisfy the terms of
                                                  6   the agreement.
                                                  7            29.     Plaintiff’s claims are barred because the actions of Defendant were not arbitrary,
                                                  8   capricious, unreasonable, or made in bad faith.
                                                  9                                          PRAYER FOR RELIEF
                                                 10            Wherefore, Defendant asks for relief as follows:
                                                 11            a.      That Plaintiff take nothing by way of the Complaint;
                                                 12            b.      For attorney fees, costs, and expenses incurred in this matter, both as an award of
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                                                 13   the Court and as damages; and
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                                                 14            c.      For such other and further relief as the Court may deem just or proper.
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                                                 15            d.      For such other and further relief as it may deem appropriate.
                                                 16   Dated: May 4, 2018                                         SNELL & WILMER L.L.P.
                                                 17

                                                 18                                                         By: /s/ Carrie L. Parker
                                                                                                                Joshua R. Woodard, NV Bar No. 5555
                                                 19                                                             Carrie L. Parker, NV Bar No. 10952
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                                                 25                                                              Attorneys for Defendant Darrell E.
                                                                                                                 Wagner
                                                 26

                                                 27
                                                 28

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                                                  1                                      CERTIFICATE OF SERVICE
                                                  2            I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen

                                                  3   (18) years, and I am not a party to, nor interested in, this action. On this date, I caused to be

                                                  4   served a true and correct copy of the foregoing DARRELL E. WAGNER’S ANSWER TO

                                                  5   COMPLAINT by the method indicated:

                                                  6   XXXXXXX                 by Court’s CM/ECF Program

                                                  7   __________              by U. S. Mail

                                                  8   __________              by Facsimile Transmission

                                                  9   __________              by Overnight Mail

                                                 10   __________              by Federal Express

                                                 11   __________              by Electronic Service

                                                 12   __________              by Hand Delivery
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                                                 13
                  Reno, Nevada 89501




                                                      and addressed to the following:
                     LAW OFFICES


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                                                 14
                          L.L.P.




                                                      Robert S. Larsen
                                                 15   GORDON REES SCULLY
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                                                      Las Vegas, Nevada 89101
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                                                 18   GORDON REES SCULLY
                                                       MANSUKHANI, LLP
                                                 19   One Commerce Square
                                                      2005 Market Street, Suite 2900
                                                 20   Philadelphia, Pennsylvania 19103
                                                 21            Dated this 4th day of May, 2018.
                                                 22
                                                                                                  By: /s/ Holly W. Longe_______________
                                                 23                                                   An employee of Snell & Wilmer L.L.P.
                                                 24

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